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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Amanda Perry,                              )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )      No.   17 C 7601
                                           )
JTM Capital Management, LLC, a             )
Delaware limited liability company,        )
                                           )
       Defendant.                          )      Jury Demanded

                                       COMPLAINT

       Plaintiff, Amanda Perry, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) many of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                         PARTIES

       3.      Plaintiff, Amanda Perry (“Perry”), is a Citizen of the State of South

Carolina, from whom Defendant attempted to collect a defaulted consumer debt that

she allegedly owed for a Comenity Bank credit card, despite the fact that she had

exercised her rights to refuse to pay the debt and to be represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.
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       4.     Defendant, JTM Capital Management, LLC (“JTM"), is a Delaware limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

directly or indirectly, defaulted consumer debts that it did not originate. JTM operates a

nationwide default debt collection business, and attempts to collect debts from

consumers in virtually every state, including consumers in the State of Illinois. In fact,

Defendant JTM was acting as a debt collector, as that term is defined in the FDCPA, as

to the defaulted consumer debt it attempted to collect from Plaintiff.

       5.     Defendant JTM is a bad debt buyer that buys large portfolios of

defaulted consumer debts for pennies on the dollar, which it then collects upon through

other collection agencies. Defendant JTM’s principal, if not sole, business purpose is

the collection of defaulted consumer debts originated by others.

       6.     Defendant JTM is authorized to conduct business in Illinois, and maintains

a registered agent here, see, record from the Illinois Secretary of State, attached as

Exhibit A. In fact, Defendant JTM conducts business in Illinois.

       7.     Moreover, Defendant JTM licensed as a collection agency in Illinois, see,

record from the Illinois Division of Professional Regulation, attached as Exhibit B. In

fact, Defendant JTM acts as debt collection agency in Illinois.

                               FACTUAL ALLEGATIONS

       8.     Ms. Perry is a disabled woman, with limited assets and income, who fell

behind on paying her bills, including a debt she allegedly owed for a Comenity Bank

(“Comenity”) credit card account. In response to her financial problems, Ms. Perry

sought the assistance of the legal aid attorneys at the Chicago Legal Clinic’s LASPD



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program, regarding her debt problems, including the Comenity debt.

       9.     Accordingly, on August 27, 2015, one of Ms. Perry's legal aid attorneys

informed Comenity that Ms. Perry was represented by counsel, and directed Comenity

to cease contacting her and to cease all further collection activities because Ms. Perry

was forced, by her financial circumstances, to refuse to pay her unsecured debt.

Copies of this letter and the fax confirmation are attached as Exhibit C.

       10.    Thereafter, Defendant JTM bought/obtained Ms. Perry’s alleged Comenity

account, ignored the information in the account notes that told it, as the successor-in-

interest, that it could no longer call or write Ms. Perry, and had its attorney debt

collector, Weltman, Weinberg & Reis Co., send Ms. Perry a collection letter, dated

March 4, 2017, demanding payment of the Comenity debt. A copy of this collection

letter is attached as Exhibit D.

       11.     Defendant’s violations of the FDCPA were material because, although

Plaintiff had been informed by counsel and believed that she had the right to refuse to

pay this debt and to demand that collection communications cease, Defendant’s

collection communications made Plaintiff believe that her demand had been futile and

that she did not have the rights Congress had granted her under the FDCPA.

       12.     Moreover, violations of the FDCPA which would lead a consumer to alter

her course of action as to whether to pay a debt, or which would be a factor in the

consumer's decision making process, are material, see, Lox v. CDA, 689 F.3d 818, 827

(7th Cir. 2012). Here, Defendant’s actions caused Plaintiff to question whether she was

still represented by counsel as to this debt, which caused stress and confusion as to

whether she was required to pay the debt at issue.



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       13.    Defendant’s collection actions complained of herein occurred within one

year of the date of this Complaint.

       14.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard, see, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                       Violation Of § 1692c(c) Of The FDCPA --
              Failure To Cease Communications And Cease Collections

       15.    Plaintiff adopts and realleges ¶¶ 1-14.

       16.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay, see, 15 U.S.C. § 1692c(c).

       17.    Here, the letter from Plaintiff’s attorneys to Defendant’s predecessor-in-

interest (Exhibit C) told Defendant to cease communications and cease collections. By

directly communicating with Plaintiff regarding this debt and demanding payment

(Exhibit D), Defendant violated § 1692c(c) of the FDCPA

       18.    Defendant’s violation of § 1692c(c) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.

                                    COUNT II
                   Violation Of § 1692c(a)(2) Of The FDCPA --
             Communicating With A Consumer Represented By Counsel

       19.    Plaintiff adopts and realleges ¶¶ 1-14.

       20.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from



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communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address, see, 15 U.S.C. § 1692c(a)(2).

       21.    Defendant knew, or readily could have known, that Plaintiff was

represented by counsel in connection with her debts because her attorneys had given

notice in writing, to Defendant’s predecessor-in-interest, that Plaintiff was represented

by counsel, and had directed a cessation of communications with Plaintiff. By directly

sending Plaintiff a collection letter (Exhibit D), despite being advised that she was

represented by counsel, Defendant violated § 1692c(a)(2) of the FDCPA.

       22.    Defendant’s violation of § 1692c(a)(2) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15

U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

       Plaintiff, Amanda Perry, prays that this Court:

       1.     Find that Defendant’s debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Perry, and against Defendant, for actual

and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                     JURY DEMAND

       Plaintiff, Amanda Perry, demands trial by jury.

                                                 Amanda Perry,

                                                 By: /s/ David J. Philipps________
                                                 One of Plaintiff’s Attorneys


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Dated: October 20, 2017

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